                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 15-CR-1026-LRR
 vs.                                                ORDER REGARDING
                                                 MAGISTRATE’S REPORT AND
 BRANDON LEWIS RACKERS,                             RECOMMENDATION
                                                 CONCERNING DEFENDANT’S
               Defendant.                              GUILTY PLEA


                      I. INTRODUCTION AND BACKGROUND
       On December 9, 2015, a one-count Indictment was filed against Defendant Brandon
Lewis Rackers. On January 27, 2016, Defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment.
On January 27, 2016, Judge Scoles filed a Report and Recommendation in which he
recommended that the court accept Defendant’s guilty plea. On January 27, 2016,
Defendant filed a Waiver of Objections to Report and Recommendation. The court,
therefore, undertakes the necessary review of Judge Scoles’s recommendation to accept
Defendant’s plea in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge's disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
January 27, 2016, and ACCEPTS Defendant’s plea of guilty to Count 1 of the Indictment.
      IT IS SO ORDERED.
      DATED this 27th day of January, 2016.




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